Case 1: 04- -c\/- -01191- .]DT- -tmp Document 49 Filed 08/26/05 Page 1 of 16 Page|D 57

, 5 o 1
1N THE UNITED sTATEs msich CoURT 0340@ \§/
FoR THE WEsTERN olsTRicT oF TENNESSE13 O-
EASTERN D1v1sloN ,

 

JACOB RHODES, a minor, by and
through his biological mother, DIANA
RAY MOORE; DIANA RAY MOORE,
Individually,

No. l:04-ll9l-T-An
Plaintiffs,

VS.
SUSAN WALLACE, Individually;

HENDERSON COUNTY BoARD
oF EDUCATION,

\._/\_/\__/\_/\_/\_/\_/\_/\_,/\../\_/\../\_./\__/

Defendants.

 

ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT SUSAN
WALLACE’S MOTION TO DISMISS

 

Plaintiffs, Jacob Rhodes and his biological mother, brought this action initially in the
Circuit Court for Henderson County, Tennessee, against Defendants Susan Wallace and the
Henderson County Board of Education. Plaintiffs alleged negligence, assault, battery,
negligent infliction of emotional distress, intentional infliction of emotional distress, and
violation of.lacob’s civil rights under 42 U.S.C. § 1983. On August 16, 2004, Defendant
Henderson County Board of Education (“the Board”) removed the case to this court
pursuant to 28 U.S.C. § l44l. Susan Wallace now moves to dismiss Plaintiffs’ § 1983

claims that are based upon the Fourth and Eighth Amendments. F or the following reasons,

This document entered on the docket sheet fn com fiance
with Rule 58 and,'or_?Q {a) FRCP on 3 l Qq `Q §

Ll(l

Case 1:O4-cv-01191-.]DT-tmp Document 49 Filed 08/26/05 Page 2 of 16 Page|D 58

Susan Wallace’s motion to dismiss Plaintiffs’ Eighth Amendment claim is GRANTED and

her motion to dismiss Plaintiffs’ Fourth Amendment claim is DENIED.

l.

Jacob Rhodes and his mother, Diana Ray Moore (collectively “Plaintiffs”), are
residents ofHenderson County, Tennessee. At the time of the events leading to this lawsuit,
Jacob was either five (5) or six (6) years of age. (M Pls.’ Compl. at 1111 l, 8, 14). During
late 2002, Jacob began attending preschool at Beaver Elementary School in Henderson
County. (E Pls.’ Cornpl. at 111[ 7, 8). Because he suffered from Rubinstein-Taybi
Syndrome (“RTS”), or mental retardation, Jacob Was a “special needs” student and the
school placed him in a special education classroom. (Y Pls.’ Compl. at 1[1] 9, lO, ll).
Defendant Susan Wallace (“Wallace”) Was the teacher assigned to that special education
classroom. (M Pls.’ Compl. at1l 14).

According to Plaintiffs, as soon as Jacob began attending Wallace’s class, Wallace
engaged in various forms of abuse directed toward Jacob and other students For example,
Plaintiffs allege that Wallace took advantage of her disciplinary authority over Jacob and the
other students by, among other things, screaming at Jacob uncontrollably and on a daily
basis, strapping Jacob to a cot for hours at a time to keep him from moving, placing a “lead
physical therapy vest on him While strapped to his cot,” hitting Jacob With “flyswatters and

yardsticks” and her hands, and committing “other inappropriate and dangerous acts and

Case 1:O4-cv-01191-.]DT-tmp Document 49 Filed 08/26/05 Page 3 of 16 Page|D 59

disciplinary measures.” (_SL Pls.’ Compl. at 1i 16). Plaintiffs have also suggested that
Wallace may have required Jacob and other students to “drink water from a toilet.” (w
Pls.’ Mem. Opp. Wallace’s Mot. to Dismiss at 2). These alleged misdeeds took place on an
uninterrupted basis until early to mid-2004, when the Board removed Wallace as a result of
a related criminal investigation (w Pls.’ Compl. at 1 14).

Jacob filed suit in state court through his mother, who also brought an action in her
individual capacity. (E Compl.). Plaintiffs named Wallace and the Board as Defendants.
Plaintiffs asserted claims under state tort law and under 42 U.S.C. § 1983. The Board then
removed Plaintiffs’ claims to this court.

Before the court is a motion, by Wallace, to dismiss two ofPlaintiffs’ § 1983 claims.
Wallace first moves to dismiss Plaintiffs’ claim that her alleged actions constitute “cruel and
unusual punishment” under the Eighth Amendment. Wallace argues that the Eighth
Amendment is simply an improper constitutional framework within which to consider the
abusive conduct of a public school teacher toward her students. Second, Wallace seeks
dismissal of Plaintiffs’ claim that Wallace unreasonably “seized” Jacob in violation of the
protections of the Fourth Amendment. ln particular, Wallace contends that, because the
“principal concem” of the Fourth Amendment is “intrusions on privacy in the course of
criminal investigations,” (s_g_e_ Wallace’s Mem. Supp. Mot. to Dismiss at 2), the Fourth
Amendment does not operate to protect public school students from excessive force inflicted

upon them by public school teachers Who abuse their disciplinary authority. Plaintiffs have

Case 1:O4-cv-01191-.]DT-tmp Document 49 Filed 08/26/05 Page 4 of 16 Page|D 60

responded to both ofthese arguments (§e§ Pls.’ Mem. Opp. Wallace’s Mot. to Dismiss at

3-6).

Il.

Wallace’s motion to dismiss is governed by Rule l2 ofthe Federal Rules of Civil
Procedure. Rule 12 provides for dismissal of an action when the complaint “fails to state
a claim upon which relief can be granted.” FED. R. CIV. P. l2(b)(6). When deciding a
l2(b)(6) motion to dismiss, the court “must construe the complaint in the light most
favorable to the plaintiff, accept all factual allegations as true, and determine whether the
plaintiff undoubtedly can prove no set of facts in support of [the] claims that would entitle
[the plaintiff] to relief.” Cline v. Rogers, 87 F.3d 176, 179 (6th Cir. 1996).

A person who sues under § 1983I must establish two elements to prevail. First, the
plaintiff must show that he was deprived of a right secured by the United States Constitution
or the laws of the United States. Second, he must demonstrate that he was subjected or

caused to be subjected to the constitutional deprivation by a person acting under color of

 

1§ 1983 provides, in relevant part, that,

[e]very person who, under color of any statute, ordinance,
regulation, custom, or usage, of any State or Territory or the
District of Columbia, subj ects, or causes to be subj ected, any
citizen of the United States or other person within the jurisdiction
thereof to the deprivation of any rights, privileges, or immunities
secured by the Constitution and laws, shall be liable to the party
injured.

42 U.S.C. § 1983.

Case 1:O4-cv-01191-.]DT-tmp Document 49 Filed 08/26/05 Page 5 of 16 Page|D 61

state law. Davenport v. Simmons, 192 F. Supp.2d 812, 817¢18 (W.D. Tenn. 2001) (citing
Searcv v. Citv of Davton, 38 F.3d 282, 286 (6th Cir. ]994) (citing Flagg Bros. v. Brooks,
436 U.S. 149, 155 (1978))). Here, the issue is whether the allegations of the complaint,
taken as true and viewed in Plaintiffs’ favor, would constitute a violation of “a right [or

ri ghts] secured by the United States Constitution” and remediable under § 1983.

111.
A. The Eighth Amendment

The Eighth Amendment to the United States Constitution provides that, “[e]Xcessive
bail shall not be required, nor excessive fines imposed, nor cruel and unusual punishments
inflicted.” U.S. CONST. amend. \/IH2 (emphasis added). The Supreme Court has concluded
that only a certain subcategory of “cruel and unusual” government behavior, or
“punishment,” violates the Eighth Arnendment as opposed to some other constitutional
provision or to none at all. See, e.g., lngraham v. Wright, 430 U.S. 651 (1977).
Specifically, the Court has held that government conduct is not to be scrutinized under the
amendment unless and until the government has secured a formal adjudication of the

“punished” person ’s guilt in a criminal prosecution § m. at 671 n.40 (citin g United States

 

2The amendment is applicable to the states and to state actors by virtue of the Due Process
Clause of the Fourteenth Amendment. 839 U.S. CONST. amend. XIV, § 1 (“No State shall . . .
deprive any person of life, liberty, or property, without due process of law.”); Robinson v.
California, 370 U.S. 660, 666 (1962); Louisiana ex. rel. Francis v. Resweber, 359 U.S. 459, 463
(1947).

Case 1:O4-cv-01191-.]DT-tmp Document 49 Filed 08/26/05 Page 6 of 16 Page|D 62

v. Lovett, 328 U.S. 303, 317~18 (1946). The Court’s reasoning was grounded in the text
and history of the amendment as well as in prior precedent I_d. at 664-68 (noting that the
“primary purpose of [the Cruel and Unusual Punishments Clause] has always been
considered, and properly so, to be directed at the method or kind of punishment imposed for
violation of criminal statutes”) (quoting Powell v. Texas, 392 U.S. 514, 531-32 (1968)).

Despite the obvious meaning of lngraham as applied to the facts of this case,
Plaintiffs nonetheless argue that this court should either factually distinguish this case or
“change . . . the law.” Plaintiffs first argue that what Wallace allegedly did to .1 acob was
subj ectively more “cruel and unusual” than what happened to the petitioners in Ingraham.
(w PIs.’ Mem. Opp. Wallace’s Mot. to Dismiss at 3-4). Those petitioners, however,
claimed state conduct that was far more egregious than Plaintiffs acknowledge One
petitioner claimed that two assistant principals had grabbed him and hit him twenty (20)
times with a paddle, and the other petitioner claimed that he had been paddled on his arm,
back, neck, and wrist. See lngraham v .Wriaht, 525 F.2d 909, 911 (5th Cir. 1976), afde, 430
U.S. 651 (1977). Thus, contrary to Plaintiffs’ attempt to draw a distinction between “mere”
corporal punishment and “cruel and unusual” corporal punishment, lngraham did not base
its decision on any such distinction but instead simply held the Eighth Amendment
inapplicable to punishment, of whatever severity, inflicted by public school officials
exercising disciplinary authority in the public school system, Ingraham v. Wright, 430 U.S.

651,671(19771

Case 1:O4-cv-01191-.]DT-tmp Document 49 Filed 08/26/05 Page 7 of 16 Page|D 63

P]aintiffs also point out that In graham was decided almost three (3) decades ago and
that only five (5) Justices signed the majority opinion limiting the Eighth Amendment to the
post-conviction treatment of criminal offenders (§_e_e Pls.’ Mem. Opp. Wallace’s Mot. to
Dismiss at 4). Apparently, Plaintiffs consider the length of time that has transpired since
lngraham was decided as a factor that would justify changing instead of adhering to
precedent Even if the court agrees, neither time nor a persuasive dissent would permit this
court to disregard an unambiguous and applicable decision of the Supreme Court.

Last, Plaintiffs contend that, because of “the evolution of our society,” the Supreme
Court would likely hold that the abuse alleged in this case was cruel and unusual and
violated the Eighth Amendment. (_S@ Pls.’ Mem. Opp. Wallace’s Mot. to Dismiss at 4).
In other words, Plaintiffs insist that society in 1977 may have accepted screaming, tying a
child to a cot under a lead vest, striking him with flyswatters and yardsticks and hands,
and/or forcing him to drink from a commode, but that society in 2005 would necessarily
condemn such conduct by a public school teacher. This argument is not persuasive because
it confuses the question of whether the Eighth Amendment is even a relevant limit on
particular government conduct with the question of whether conduct admittedly governed
by the Eighth Amendment (such as the execution of a prisoner) has become “cruel and
unusual” under society’s “evolving standards of decency.” _S_ee Ingraham, 430 U.S. at 668
n.36 (noting that the concept of cruel and unusual criminal punishment may “become[]

enlightened by a humanejustice”); see also Roper v. Simmons, 125 S.Ct. 1183, 1190 (2005)

Case 1:O4-cv-01191-.]DT-tmp Document 49 Filed 08/26/05 Page 8 of 16 Page|D 64

(discussing “evolving standards of decency” in the death penalty context). This case is
concerned only with the first question, and the answer to that question is controlled by
lngraham and not amenable to any evolving standards other than those enunciated by the
Supreme Court itself

lndeed, the factual allegations of Plaintiffs’ complaint do accuse Wallace of serious,
severe, “cruel and unusual” conduct (&e Pls. Compl. and Mem. Opp. Wallace’s Mot. to
Dismiss). Viewing those accusations in Plaintiffs’ favor, the conduct was also arguably
imposed as some form of “punishment” against Jacob. Notwithstanding and assuming all
of this, such punishment by this defendant simply does not implicate the Eighth Amendment.
The “plaintiffun doubtedly can prove no set of facts in support of [the] [Eighth Amendment]
claims that would entitle [the plaintiff] to relief.” w Cline v. Rogers, 87 F.3d 176, 179 (6th
Cir. 1996) (second brackets added).

Accordingly, Wallace’s Rule 12(b)(6) Motion to Dismiss Plaintiffs’ Eighth

Amendment claim is GRANTED.

B. The Fourth Amendment
Whether Plaintiffs have stated a claim under the Fourth Amendment presents a more
difficult question. That amendment grants “the people” a constitutional right “to be secure
in their persons . . . against unreasonable searches and seizures.” U.S. CONST. amend. IV.

lt has been incorporated into the Due Process Clause of the Fourteenth Amendment and thus

Case 1:O4-cv-01191-.]DT-tmp Document 49 Filed 08/26/05 Page 9 of 16 Page|D 65

applies with equal force to both federal and state actors. See. egg MaDD v. Ohio, 367 U.S.
643 (1961).

Under the Fourth Amendment, a seizure occurs when a government agent restrains
a person’s freedom of movement in such a way that a reasonable person in the same position
would not feel free to walk away. See. e.g., Elwoski v. Citv of Brunswick, 287 F.3d 492,
506 (6th Cir. 2002) (citing Michigan v. Chestemut. 486 U.S. 567, 573 (1988)). The
government agent must intentionally acquire physical control over the person seized. SL`
gg_., E. (citing Brower v. Countv oflnvo, 489 U.S. 593, 596 (1989)). Additionally, unless
and until the person is successfully restrained by physical force or a show of authority, a
Fourth Amendment seizure has not transpired ld. (citing Califomia v. Hodari D., 499 U.S.
621 (1991)).

Wallace argues that the constitutional proscription of unreasonable seizures by
government agents is not controlling in cases where teachers are alleged to have used
excessive force as a means of maintaining control over a classroom. (E Wallace’s Mem.
Supp. Mot. to Dismiss at 2). lngraham, M, did not resolve that question M lngraham
v. Wright, 430 U.S. 651, 674 n.42 (1977). As pointed out by Wallace, the Court has in fact
noted that one of the Framers’ “principal concerns” in drafting the Fourth Amendment was
“the pre-Revolutionary practice of using general warrants or ‘writs of assistance’ to
authorize searches for contraband by officers of the Crown.” New Jersey v. T.L.O,, 469

U.S. 325, 335 (1985); see also lngraham, 430 U.S. at 674 n.42 (acknowiedging that the

Case 1:04-cv-01191-.]DT-tmp Document 49 Filed 08/26/05 Page 10 of 16 Page|D 66

Fourth Amendment is especially concerned with government invasions of legitimate

expectations of privacy during the course of criminal investigations); Tennessee v. Garner

 

471 U.S. 1, 7 (1985) (applying Fourth Amendment “seizure” analysis to the use of deadly
force as a means of apprehending a criminal suspect).

The Fourth Amendment’s protection of legitimate expectations of privacy, bodily
movement, and security is not as limited as Wallace suggests As noted by the Court in him
Jersey v. T.L.O., although the historical roots of the Fourth Amendment are found in the law
enforcement context, the “‘basic purpose of this Amendment, as recognized in countless
decisions of [the Supreme] Court, is to safeguard the privacy and security of individuals
against arbitrary invasions by government officials.”’ New Jersey v. T.L.O., 469 U.S. 325,
335 (1985) (citing Camara v. Municip_al Court, 387 U.S. 523, 528 (1967)). Those interests
suffer as a result of intrusions by a government actor regardless of whether the government
actor’s motive is to enforce the criminal law as opposed to some other standard. &e_e g

(citing Marshall v. Barlow’s. lnc., 436 U.S. 307, 312-13 (1978)). For these reasons, the

 

Court in T.L.O. easily held that the Fourth Amendment protects public school children from
unreasonable searches carried out by school officials I_d. at 3 34-37 (noting that school
officials carry out searches and perform other disciplinary functions as representatives of the
state and pursuant to state mandated disciplinary standards). This holding has been extended
beyond the search context to apply to forceful disciplinary “seizures” effected by school

teachers as well. See. e.g., Wallace v. Batavia School Dist., 68 F.3d 1010 (7th Cir. 1995).

10

Case 1:04-cv-01191-.]DT-tmp Document 49 Filed 08/26/05 Page 11 of 16 Page|D 67

Perhaps recognizing that the “original intent” argument was rejected in M,
Wallace relies on a decision of the Sixth Circuit in which the court of appeals held that the
student plaintiffs’ claims of sexual and physical abuse against a teacher and soccer coach
were governed by the “shocks the conscience” test of the “substantive due process”
component of the Fourteenth Amendment. (E Def.’s Mem. Supp. Mot. to Dismiss at 2
n.1) (citing Lillard v. Shelby County Bd. of Educ., 76 F.3d 716, 724-26 (6“‘ Cir. 1996)). In
that case, the court of appeals explained that a plaintiff may allege two different types of
substantive violations by state actors under the Due Process Clause of the Fourteenth

Amendment,

The first type includes claims asserting denial of a right, privilege, or immunity
secured by the Constitution or by federal statute other than procedural claims under
‘the Fourteenth Amendment simpliciter.’

The other type of claim is directed at official acts which may not occur regardless of
the procedural safeguards accompanying them. The test for substantive due process
claims of this type is whether the conduct complained of ‘shocks the conscience’ of
the court.

Lillard v. Shelbv County Bd. of Educ., 76 F.3d 716, 724-26 (6th Cir. 1996) (internal
citations omitted). In other words, if a plaintiff is alleging that particular government action
violated a substantive right not covered by a particular constitutional provision or federal
statute, then his claim should be characterized as a “substantive due process” claim. lf, on

the other hand, a plaintiff alleges that a state actor has deprived him of “due process” by

11

Case 1:04-cv-01191-.]DT-tmp Document 49 Filed 08/26/05 Page 12 of 16 Page|D 68

violating an independent constitutional provision, such as the Fourth Amendment, the
standards applicable to that provision govern instead of the more vague standards that have
been articulated under the more general notion of “substantive due process”

M did not even address a claim that a public school teacher violated the Fourth
Amendment by using excessive disciplinary force to acquire control over students The
issue in that case was what “test” applies (“shocks the conscience” or some other level of
scrutiny) when an excessive force plaintiff is relying on the second type of substantive due
process claim noted above. Lll_a_r_d certainly does not stand for the proposition that students
must bring all excessive force claims against school officials under the same theory as the
M plaintiffs even if a more explicit constitutional provision applies Indeed, as noted
by Wallace in her Motion to Dismiss, the Supreme Court has been skeptical of the “shocks
the conscience” test and has instructed that when there is an “explicit textual source of
constitutional protection against . . . physically intrusive governmental conduct,” then Fourth
Amendment analysis should apply instead of “the more generalized notion of substantive
due process.” Graham v. Conner, 490 U.S. 3 86, 395 (1989) (intemal citations and quotation
marks omitted). In short, Plaintiffs’ Fourth Amendment claim is not foreclosed by LillaLI.

Here, Plaintiffs have alleged facts that, if believed, would justify a finding that
Wallace used her official authority to intention ally acquire physical and disciplinary control
over Jacob in a manner that was objectively unreasonable under the totality of circumstances

and that would lead a reasonable person in Jacob’s position to believe that he was not free

12

Case 1:04-cv-01191-.]DT-tmp Document 49 Filed 08/26/05 Page 13 of 16 Page|D 69

to leave. In particular, Plaintiffs claim that Wallace “showed her authority” by “[d]aily
uncontrolled screaming,” by tying Jacob to a cot under a lead vest to keep him still, by
“forcefully striking Jacob’s person[] with inappropriate objects . . . such as flyswatters and
yardsticks,” by hitting Jacob with her hands, and by engaging in other inappropriate
“disciplinary measures.” 1f Wallace restrained Jacob’ s movement in the method alleged, she
did so as a representative of the state seeking to “enforce” the` “law” of the classroom. Like

the school searches for cigarettes in T.L.O. were subject to Fourth Amen dment analysis, this

 

court concludes that the Fourth Amendment could also apply to a school teacher’s use of
force or other displays of disciplinary authority to “seize” her students

Because Plaintiffs have alleged “a set of facts” that could support finding an unlawful
seizure ofJacob’s person in violation of the Fourth Amendment, Wallace’s 1 2(b)(6) Motion

to Dismiss that portion of Plaintiffs’ complaint is DENIED.

13

Case 1:04-cv-01191-.]DT-tmp Document 49 Filed 08/26/05 Page 14 of 16 Page|D 70

IV.
For the foregoing reasons, Wallace’s Motion to Dismiss Plaintiffs’ Eighth
Amendment claim is GRANTED and her Motion to Dismiss Plaintiffs’ Fourth Amendment
claim is DENIED.

IT IS SO ORDERED.

 

 

 

14

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 1:04-CV-01191 was distributed by fax, mail, or direct printing on
August 29, 2005 to the parties listed.

 

Lewis L. Cobb

SPRAGINS BARNETT COBB & BUTLER
312 East Lafayette St.

Jackson, TN 38302--200

Charles M. Purcell
WALDROP & HALL
106 S. Liberty Street
P.O. Box 726

Jackson, TN 38302--072

Larry L. Crain

BRENTWOOD LAW OFFICES
5214 Maryland Way

Ste. 402

Brentwood, TN 37027

Kenny Cavness
Henderson County Courthouse
Lexington, TN 38351

R. Dale Thomas

RAINEY KIZER BUTLER REVIERE & BELL
209 East Main Street

Jackson, TN 38302--114

Clinton H. Scott

SPRAGINS BARNETT COBB & BUTLER
312 East Lafayette St.

Jackson, TN 38302--200

Jennifer Craig
WALDROP & HALL
106 S. Liberty Street
P.O. Box 726

Jackson, TN 38302--072

Case 1:04-cv-01191-.]DT-tmp Document 49 Filed 08/26/05 Page 16 of 16 Page|D 72

Russell E. Reviere

RAINEY KIZER REVIERE & BELL
209 E. Main Street

Jackson, TN 38302--114

.l ames Brandon McWherter

SPRAGINS BARNETT COBB & BUTLER
P.O. Box 2004

Jackson, TN 38302--200

Honorable .l ames Todd
US DISTRICT COURT

